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AO 91 (Rev. 11/11) Criminal   Com~laint
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                                                                                                         ~NESSAL.tP~STRONG


                                             UNITED STATES DISTRICT COURT                                      JUL 05 2016
                                                         for the
                                                                                                          U.S. DISTRICT COURT
                                             WESTERN DISTRICT OF KENTUCKY                                WEST'N. D!St KENTUCKY

             UNITED STATES OF AMERICA                                    )
                  v.                                                     )

             ISMAEL GONZALEZ
                                                                         )
                                                                         )
                                                                                  Case No.     5 :16 ~ M T-]r2_
             DANTE WATTS                                                 )
             ARIEL CRUZ                                                  )
             OSCAR ARGUETA                                               )
             KINIKI LUCAS                                                )
             CARLOS CATALAN                                              )

                                                       CRIMINAL COMPLAINT

              I, the complainant in this case, state the following is true to the best of my knowledge and belief.

        On or about the date(s) of May through July 2, 2016, in the county of Jefferson in the Western District of
Kentucky, the defendants violated:

                              Code Section                                        Offense Description

              Title 21, United States Code, Section 846                           Narcotics Conspiracy

              This criminal complaint is based on these facts:

              ./               Continued on the attached sheet


                                                                    ~    Complainant's signature



                                                                       ~M~dtf
                                                                        Special Agent Brian Sanders, DEA

Sworn to before me and signed in my presence.

Date:      rls-/ao1 /,                                                 ~~Judge's Signatu; -e

City and State:          LcviW/1/v , Kentucky
                                                                 Colin H. Lindsay, United States Magistrate Judge
                                                                                                                    RBB(AUSA initials)
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    AFFIDAVIT IN SUPPORT OF APPLICATION FOR ARREST WARRANT


I, Brian D. Sanders, having been duly sworn, depose and state:


 1. I am a Special Agent with the U.S. Drug Enforcement Administration (DEA)
    assigned to the Louisville District Office. As such, I am an investigative or law
    enforcement officer of the United States within the meaning of Title 18, United States
    Code, Section 2510 (7); that is, an officer of the United States who is empowered by
    law to conduct investigations of and to make arrests for offenses enumerated in Title
    18, United States Code, Section 2516 (1). I have been a Special Agent of the Drug
    Enforcement Administration since January of 2005, during which time I have
    specialized in investigations involving narcotics trafficking. I have received
    specialized training on the subject of narcotics trafficking and money laundering and
    have been personally involved in investigations concerning the possession,
    distribution, and importation of controlled substances, as well as investigations
    concerning the methods utilized to finance transactions, launder and transport drug
    proceeds, and conceal assets purchased with illegal proceeds. This affidavit is based
    upon my personal knowledge, as well as information reported to me by other federal
    and local law enforcement officers and others with knowledge of the facts
    surrounding this case.
    2. This affidavit is submitted in support of an application seeking arrest warrants for
    Ismael GONZALEZ, Dane WATTS, Carlos CATALAN, Kiniki LUCAS, Oscar
    ARGUETA, and Ariel CRUZ. Your Affiant alleges that the facts and circumstances
    outlined in this affidavit are indicative of probable cause to believe that GONZALEZ,
    WATTS, CATALAN, LUCAS, ARGUETA, and CRUZ conspired to possess with
    the intent to distribute methamphetamine, cocaine and heroin in violation of Title 21,
    United States Code 846 and 841 (a) (1).
                                    Facts of the Case
    3. In March of2016, the Drug Enforcement Administration Louisville District

    Office (LDO), with the assistance ofthe Louisville Metro Police Department




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   (LMPD), began a series of court authorized wire interceptions involving local heroin

   and crystal methamphetamine traffickers operating within, but not limited to

   Louisville, KY. To date, the LDO has obtained authority to intercept

   communications over eight separate cellular phones utilized by individuals acquiring

   and selling drugs.

   4. The investigation has led to the identification of Ismael GONZALEZ as a large

   quantity methamphetamine trafficker, with sources of supply around the southwest

   border and Mexico. Based on intercepted calls, the LDO identified two cellular

   telephones that GONZALEZ was using to coordinate the shipment and delivery of

   narcotics shipments.

   5. On May 3, 2016 U.S. District Judge David Hale authorized the interception of

   wire communications over the first of GONZALEZ's cellular telephones, hereafter

   referred to as Target Telephone I. The LDO then identified and additional cellular

   telephone as an additional phone used by GONZALEZ, hereafter referred to as Target

   Telephone II.

   6. On June 13, Judge Hale authorized the continued interception of wire

   communications and the initiation of electronic communication intercepts over Target

   Telephone I as well as the initiation of wire and electronic communication intercepts

   over Target Telephone II.

   7. On June 29, 2016, Senior U.S. District Judge Charles R. Simpson, III authorized

   the interception of wire communications over a third cellular telephone utilized by

   GONZALEZ, hereafter referred to as Target Telephone III, as well as a cellular

   telephone utilized by Dante WATTS, hereafter referred to as Target Telephone IV.




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   8. To date interceptions have provided information about GONZALEZ's narcotics

   activities. Specifically, on May 7, 2016, GONZALEZ instructed members ofhis

   organization to meet Oscar ARGUETA at a business in the vicinity of Brooks Road

   and Interstate-65, where they retrieved thirty-eight (38) pounds of crystal

   methamphetamine, which ARGUETA had transported from the Southwest border.

   9. Upon receipt of the methamphetamine, members of the GONZALEZ organization

   took the 38 pounds of methamphetamine to a body shop owned by Carlos

   CATALAN. At that time, the LDO believes that CATALAN loaded the 3 8 pounds of

   crystal methamphetamine, along with an additional eleven (11) pounds, which he was

   already in possession of, into a stash vehicle, which was utilized to conceal the

   narcotics during transport.

    10. Once the vehicle was loaded with a total of 49 pounds of crystal

   methamphetamine, it was provided to Dante WATTS, a known narcotics trafficker in

   Louisville, KY.

    11. Between May 12 and July 1, 2016, the LDO has intercepted a series of

   communications over GONZALEZ's cellular telephones in which he, WATTS,

   Carlos CATALAN and GONZALEZ's still unidentified source of supply had

   discussed the shipment of approximately $600,000 worth of suspected crystal

   methamphetamine and cocaine to Louisville, KY.

    12. During this time, both GONZALEZ and WATTS traveled to Houston, TX in

   order to test the crystal methamphetamine before it was shipped to Louisville, KY.

   On this trip to Houston, WATTS was accompanied by Kiniki LUCAS who rented the

   hotel rooms at the Best Western Astor Suites in Houston.




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   13. Specifically, on July 1, 2016, GONZALEZ's received a text from his source of

   supply indicating that "the airplane parts are going to set sail." Based on this

   conversation, as well as previously intercepted calls, the LDO knew "airplane parts"

   to be a reference for cocaine. Following this conversation, GONZALEZ contacted

   WATTS, and informed him of the pending shipment, and informed him that he

   needed to collect a large sum of money and get it to him as soon as possible.

   14. At approximately 22:02 hours, the LDO intercepted a conversation between

   GONZALEZ and a member of WATTS' organization in which WATTS had sent this

   individual with approximately $400,000 in US Currency to the shop owned by

   CATALAN. It is Affiants belief that Ariel CRUZ had meet WATTS' associate at the

   shop and retrieved the $400,000.

   15. On July 2, 2016, at approximately 9:28 hours, GONZALEZ placed an outgoing

   call to an unidentified male with a Texas area code. During this conversation, the

   unknown male informed "the man is like an hour away." Based on this conversation,

   it was believed that the unknown male had informed GONZALEZ that ARGUETA

   would be arriving in Louisville in approximately one hour with a shipment of

   narcotics.

   16. Following this conversation, GONZALEZ contacted two members of his

   organization, who the LDO believes to be Ariel CRUZ and Carlos CATALAN, and

   informed them that the shipment would be arriving shortly.

   17. On July 2, 2016, at approximately 11:00 hours, members of the DEA LDO

   observed ARGUETA's tractor-trailer truck traveling northbound on Interstate-65 near

   the Bardstown exit. Surveillance was maintained on the truck until its arrival at the




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   Pilot gas station, 2050 E. Blue Lick Road, Shepherdsville, KY. Surveillance was

   maintained for a period, until ARGUETA pulled out of the Pilot, and merged back

   onto Interstate-65 northbound.

   18. Surveillance then followed ARGUETA to 6309 Strawberry Lane, CATALAN's

   body shop, where surveillance observed CRUZ opening the gate for ARGUETA.

   Surveillance then observed ARGUETA backing into 6309 Strawberry Lane.

   19. At that time, members of the DEA and LMPD executed a search warrant at 6309

   Strawberry Lane, where ARGUETA, CRUZ and CATALAN were detained.

   20. In a subsequent search of ARGUETA's tractor-trailer, members ofthe LDO

   discovered approximately thirty-one (31) kilograms of cocaine, which were in three

   separate bags laying on the bed in the cab, along with six (6) kilograms of heroin,

   which was hidden behind two separate speakers in the cab area of the truck.

   Following the seizure, members of law enforcement arrested ARGUETA,

   CATALAN, and CRUZ, and transported them to the DEA LDO for criminal

   processmg.

   21. A short time later, GONZALEZ was stopped leaving his residence, and

   subsequently placed under arrest. GONZALEZ was then transported to the DEA

   LDO for criminal processing.

   22. Members of the Louisville Metro Police Department located Dante WATTS at the

   St. Mathews Mall, where he was arrested without incident, and taken to the DEA

   LDO for criminal processing.




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   23. In a subsequent search of 612 David's Drive, Shepherdsville, KY, which is a

   location associated with GONZALEZ, members of law enforcement discovered a

   large amount of US Currency, which is believed to be upwards of$500,000.

   24. During a search of709 Urton Woods, Louisville, KY, which was believed to be a

   stash location utilized by WATTS, law enforcement discovered a large sum ofUS

   Currency, believed to be upwards of$150,000, as well as approximately one pound of

   crystal methamphetamine in the residence. During a subsequent search of a

   Mercedes-Benz, which was parked in the driveway of the residence, law enforcement

   discovered another large sum ofUS Currency, believed to be upwards of$300,000.

   25. During a search of 10517 Bay Pointe Court, Louisville, KY, which is a residence

   leased by Kiniki LUCAS, as well as a residence believed to be utilized by WATTS as

   a stash location, members of law enforcement seized approximately one pound of

   cocaine, along with approximately one pound of heroin, which was discovered in a

   master bedroom closet, which contained LUCAS' clothing. During initial

   questioning, LUCAS informed that the residence was hers, however upon the

   discovery of the narcotics, LUCAS stated she was unaware as to whose residence it

   was. Subsequent to the discovery of narcotics, LUCAS was placed under arrest ad

   transported to the DEA LDO for criminal processing.

   26. Based on the above information, it is believed that GONZALEZ, WATTS,

   CATALAN, LUCAS, CRUZ, and ARGUETA conspired to possess with the intent to

   distribute cocaine, methamphetamine and heroin in violation of Title 21, United

   States Code 846 and 841 (a) (1).




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Further your affiant sayeth naught.


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Brian D. Sanders, Special Agent
U.S. Drug Enforcement Administration

                                       6~day of July, 2016


United States Magistrate Judge




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